Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document    Page 1 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document    Page 2 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document    Page 3 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document    Page 4 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document    Page 5 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document    Page 6 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document    Page 7 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document    Page 8 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document    Page 9 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 10 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 11 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 12 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 13 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 14 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 15 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 16 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 17 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 18 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 19 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 20 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 21 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 22 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 23 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 24 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 25 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 26 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 27 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 28 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 29 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 30 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 31 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 32 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 33 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 34 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 35 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 36 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 37 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 38 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 39 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 40 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 41 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 42 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 43 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 44 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 45 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 46 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 47 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 48 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 49 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 50 of 51
Case 4:04-bk-04721-BMW   Doc 791 Filed 08/01/05 Entered 08/01/05 16:27:17   Desc
                         Main Document   Page 51 of 51
